Case 6:21-bk-00442-LVV   Doc 8   Filed 02/05/21   Page 1 of 9

                                                    02/05/2021
Case 6:21-bk-00442-LVV   Doc 8   Filed 02/05/21   Page 2 of 9
Case 6:21-bk-00442-LVV   Doc 8   Filed 02/05/21   Page 3 of 9
Case 6:21-bk-00442-LVV   Doc 8   Filed 02/05/21   Page 4 of 9
Case 6:21-bk-00442-LVV   Doc 8   Filed 02/05/21   Page 5 of 9
Case 6:21-bk-00442-LVV   Doc 8   Filed 02/05/21   Page 6 of 9
Case 6:21-bk-00442-LVV   Doc 8   Filed 02/05/21   Page 7 of 9
Case 6:21-bk-00442-LVV   Doc 8   Filed 02/05/21   Page 8 of 9
Case 6:21-bk-00442-LVV   Doc 8   Filed 02/05/21   Page 9 of 9
